Case 1:02-cV-01152-.]DB-tmp Document 617 Filed 07/11/05 Page 1 of 4 Page|D 726

IN THE UNITED STATES DISTRICT COURT F“ED B"' »»~ °-C-

FOR THE WFsTERN DISTRICT 0F TENNESSEE
EASTERN DIvISION 05 JUL 1 l h 10- 33

LARRY STEVE MELTON, LARRY S. MELTON Cl£[.‘§( U>Sl$[;§§m;(j CUJR`|'

R & J Of TENNESSEE, INC., W}D cg g ;L‘,§§}_{§J LS
Plaintiffs,
v. NO. 02-1152-B/P

BANK OF LEXINGTON branch Of the
BANK OF FRIENDSHIP, et al.,

Defendants.

ORDER OF REFERENCE
The above action is hereby referred to the Honorable Tu Pham, U.S. Magistrate Judge,

for the purpose of conducting a scheduling conferencel

IE>M

J. DANIEL BREEN
IT D STATES DISTRICT JUDGE

IT IS SO ORDERED.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 617 in
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Honorable J. Breen
US DISTRICT COURT

